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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - X
                                        :
UNITED STATES OF AMERICA                :                  PROTECTIVE ORDER
                                        :
        - v. -                          :                  S2 11 Cr. 205 (AKH)
                                        :
CLÍVER ANTONIO ALCALÁ CORDONES,         :
                                        :
                         Defendant.     :
                                        :
- - - - - - - - - - - - - - - - - - - - X

ALVIN K. HELLERSTEIN, District Judge:

             1.    WHEREAS,     CLÍVER      ANTONIO      ALCALÁ      CORDONES    (the

“Defendant”)       has   certain        rights     under    the      United     States

Constitution, federal statutes, and the Federal Rules of Criminal

Procedure, to pre-trial discovery;

             2.    WHEREAS, the Government recognizes its obligation

to provide such discovery materials to the Defendant, consistent

with safety considerations and the confidentiality of ongoing

investigations;

             3.    WHEREAS,     the       discovery        materials     that     the

Government intends to provide to the Defendant contain certain

materials that, if disseminated to third parties, could, among

other    things,    implicate    the      safety    of     others,    including    by

revealing    the   identities      of    individuals       cooperating    with    law

enforcement, and impede ongoing investigations;

             4.    IT IS HEREBY ORDERED that, pursuant to Federal Rule
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of   Criminal    Procedure    16(d)   and   subject    to   the   additional

limitations set forth below, the discovery materials provided by

the Government to counsel for the Defendant (“Defense Counsel”)

shall not be further disseminated by the Defendant or Defense

Counsel to any individuals, organizations, or other entities,

other than members of the Defendant’s defense team (limited to:

co-counsel,     paralegals,   investigators,     translators,     litigation

support personnel, secretarial staff, and the Defendant);

           5.     IT IS FURTHER ORDERED that the discovery materials

may not be provided to any foreign persons or entities (even if

such persons or entities are members of a defense team), unless

they are within the category of “Approved Persons” as defined in

Paragraph Seven of this Protective Order, below, and may not in

any case be transmitted outside of the United States for any

purpose;

           6.     IT IS FURTHER ORDERED that each of the individuals

to whom disclosure of the discovery materials is made shall be

provided a copy of this Protective Order by Defense Counsel and

will be advised by Defense Counsel that he or she shall not further

disseminate or discuss the materials and must follow the terms of

this Protective Order;

           7.     IT IS FURTHER ORDERED that Defense Counsel may seek



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authorization of the Court, with notice to the Government, to show

(but not provide copies of) certain specified discovery materials

to   persons     whose   access   to    discovery   materials   is   otherwise

prohibited by the preceding paragraphs, if it is determined by the

Court that such access is necessary for the purpose of preparing

the defense of the case (“Approved Persons”).                 The Government

shall be provided with the opportunity to respond to the Court

prior to any such approval.            Any such Approved Persons shall (a)

sign an acknowledgment form to be provided by the Government,

affirming that they have read and understand the terms of this

protective order; (b) only view the material in the presence of

defense counsel; and (c) not retain custody or copies of the

material.

            8.     IT IS FURTHER ORDERED that all discovery materials

are to be provided to the Defendant, and used by Defense Counsel,

solely for the purpose of allowing the Defendant to prepare his

defenses to the charges in Indictment S2 11 Cr. 205 (AKH), and

that none of the discovery materials produced by the Government to

the Defendant shall be disseminated to any other third party in a

manner that is inconsistent with the preceding paragraphs;

            9.     IT IS FURTHER ORDERED that, at the conclusion of

this case, Defense Counsel shall return to the Government all



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copies of the discovery materials provided in this case;

          10.   IT   IS   FURTHER    ORDERED     that   nothing     in    this

Protective Order prohibits the media from requesting copies of any

items that are received by the Court as public exhibits at a

hearing, trial, or other proceeding; and




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          11.   IT   IS   FURTHER    ORDERED     that   nothing     in    this

Protective Order shall preclude the Government from seeking a

further protective order pursuant to Rule 16(d) as to particular

items of discovery material.

Dated:     July 22
          ___________,  2020
          New York, New York



                                   Alvin K. Hellerstein /s/
                                  __________________________________
                                  THE HONORABLE ALVIN K. HELLERSTEIN
                                  United States District Judge
                                  Southern District of New York




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